                 Case 2:17-cv-01115-RSM Document 11 Filed 08/21/17 Page 1 of 3




 1                                                   THE HONORABLE RICARDO S. MARTINEZ
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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
 9   SENIOR HOUSING ASSISTANCE                         No. 2:17-cv-01115-RSM
     GROUP,
10                                                     STIPULATION REGARDING INITIAL
                            Plaintiff,                 CASE DEADLINES AND ORDER
11
            v.
12
     AMTAX HOLDINGS 260, LLC, et al.,
13
                            Defendants.
14

15          Plaintiff Senior Housing Assistance Group (“SHAG”) and Defendants AMTAX
16   Holdings 260, LLC, Protech Holdings W, LLC, AMTAX Holdings 259, LLC, AMTAX
17   Holdings 261, LLC, AMTAX Holdings 258, LLC, AMTAX Holdings 257, LLC, AMTAX
18   Holdings 164, LLC, Protech 2002-A, LLC, AMTAX Holdings 109, LLC, and Protech 2001-B,
19   LLC (collectively, “AMTAX”) hereby stipulate and agree as follows:
20          1.       SHAG’s complaint was filed on July 21, 2017.
21          2.       AMTAX’s response is currently due on August 23, 2017.
22          3.       Under the Court’s July 28 scheduling order, Dkt. No. 4, the deadline for the
23                   parties to hold a Rule 26(f) conference is August 25, 2017, the deadline for
24                   exchanging initial disclosures is September 1, 2017, and the parties’ combined
25                   joint status report and discovery plan is due on September 8, 2017.
26

      STIPULATION AND ORDER                                                     Perkins Coie LLP
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                   Case 2:17-cv-01115-RSM Document 11 Filed 08/21/17 Page 2 of 3




 1            4.       In light of vacations and other commitments, a short extension is necessary to
 2                     allow AMTAX sufficient time to respond and to ensure that the parties’ Rule
 3                     26(f) conference is productive and that the initial disclosures and joint status
 4                     report requirements can be met.
 5            5.       Therefore, SHAG and AMTAX stipulate that:
 6                        a. The deadline for filing AMTAX’s response to the complaint is extended to
 7                            September 15, 2017.
 8                        b. The deadline for the parties to hold a Rule 26(f) conference is extended to
 9                            September 15, 2017.
10                        c. The deadline for exchanging initial disclosures is extended to
11                            September 15, 2017.
12                        d. The deadline for filing the parties’ combined joint status report and
13                            discovery plan is extended to September 22, 2017.
14            RESPECTFULLY SUBMITTED this 16th day of August, 2017.
15                                                        Perkins Coie LLP
16
                                                          By: s/ David J. Burman
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                                                          Christopher Caldwell, pro hac vice forthcoming
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                   Case 2:17-cv-01115-RSM Document 11 Filed 08/21/17 Page 3 of 3




 1
                                                 Counsel for Defendants AMTAX Holdings 260,
 2                                               LLC, Protech Holdings W, LLC, AMTAX
                                                 Holdings 259, LLC, AMTAX Holdings 261,
 3                                               LLC, AMTAX Holdings 258, LLC, AMTAX
                                                 Holdings 257, LLC, AMTAX Holdings 164,
 4                                               LLC, Protech 2002-A, LLC, AMTAX Holdings
                                                 109, LLC, and Protech 2001-B, LLC
 5
                                                 HILLIS CLARK MARTIN & PETERSON P.S.
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11
                                                 Attorneys for Plaintiff
12                                               Senior Housing Assistance Group
13

14   IT IS SO ORDERED.
15   DATED: August 21, 2017
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18                                            A
                                              RICARDO S. MARTINEZ
19                                            CHIEF UNITED STATES DISTRICT JUDGE

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      STIPULATION AND ORDER                                            Perkins Coie LLP
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